Case o-Ly-//4io-laS DVocly FiedVo/O/icO Entered Oo/O//20 LoilyiO1

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK
xX CHAPTER 13

IN RE: CASE NO.:19-77418

 

MICHAELANGEO QUAIL, A/K/A
MICHAEL A, QUAIL, A/K/A
MICHAELANGELO A. QUAIL, AND
DENISE M. QUAIL, A/K/A

DENISE M. DESPRADEL

DENISE DESPRADEL-QUAIL,

DEBTORS.

 

x
AMENDED CHAPTER 13 PLAN

Revised 12/1/19

EJ Check this box if this is an amended plan. List below the sections of the plan which have been

changed:
Part # 2.1, 43.2, #4.4

PART 1: NOTICES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permtsstbie in your judicial district. Plans
that do not comply with the local rules for the Eastern District of New York may not be confirmable. If you do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.

if you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any

plan.

1.1: The following matters may be of particular importance. Debtors must check one box on each line to state
whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

 

a. | Alimit on the amount of a secured claim, set out in Section 3.4, which may result in Olneluded |INot included

a partial payment or no payment at all to the secured creditor

 

b. | Avoidance of a judicial fien or nonpossessory, non-purchase-money security Interest, C] included | HINot included

set out in Section 3.6

 

Included | FNotincluded

 

 

 

c. Nonstandard provisions, set out in Part 9

 

 

 

1.2: The following matters are for informational purposes.

 

a. | The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal Elineluded | PaNot included

residence, set out in Section 3.3

 

b. | Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed Minciuded | ONotincluded
claim

 

 

 

 

 

 
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PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the
Trustee and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:

$3,352.00 per month commencing November 2019 through and including January 2020 for a period
of 3 months; followed by,

$3,130.00 per month commencing February 2020 through and including June 2021 for a period of 17
months; followed by,

$3,434.00 for the month of July 2021; followed by,

$3,644.00 per month commencing August 2022 through and including October 2024 for the
remaining 39 months.

2.2: Income tax refunds.

If general unsecured creditors are paid less than 100% as provided in Part 5 of this plan, then during the
pendency of this case, the Debtor(s} will provide the Trustee with signed copies of filed federal and state tax
returns for each year commencing with the tax year N/A, no later than April 15" of the year following the tax
period. In addition to the regular monthly plan payments, indicated tax refunds are to be paid in full to the
Trustee upon receipt, however, no later than june 15" of the year in which the tax returns are filed.

2.3: Additional payments.

Check one.
EKiNone. if “None” is checked, the rest of §2.3 need not be completed.
EDebtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.

Describe the source, estimated amount, and date of each anticipated payment.

 

 

PART 3: TREATMENT OF SECURED CLAIMS

3.1: Maintenance of payments (including the debtor(s)’s principalresidence).

Check one.
Cinone. if “None” is checked, the rest of $3.1 need not be completed.

Debtor(s) will maintain the current contractual installment payments on the secured claims listed
below, with any changes required by the applicable contract and noticed in conformity with any
applicable rules. These payments will be disbursed directly by the debtor(s).

      

 

 

 

NewRez/Shellpoint #0959 241 Cedar Street, Uniondale, NY $2,545.44
11553
Bethpage Federal #7352 2019 Jeep Cherokee $627.39
Credit Union [|

 

 

 

 

 

 

 
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Teachers Federal #6925 2018 Jeep Wrangler $815.35
Credit Union [|

 

 

 

 

 

 

 

insert additional lines if necessary.

3.2: Cure of default (including the debtor(s)’s principal residence).

Check one.
Clnone. if “None” is checked, the rest of §3.2 need not be completed.
Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee,
with interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts
listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c} control over
any contrary amounts listed below. In the absence of a contrary timely filed proof of claim, the
amounts listed below are controlling.

     

 

 

241 Cedar Street, Uniondale, NY| $247.05

11553

a

NewRez/Shellpoint #0959

 

 

 

Oh UO

 

 

 

 

 

 

 

 

Insert additional lines if necessary.

3.3: Modification of a mortgage secured by real property of the debtor(s).
Check one.
EThe debtor(s) is not seeking to modify a mortgage secured by a real property of the debtor{s).
LIThe debtor{s} is seeking to modify a mortgage secured by the debtor{s)’s principal residence and shall
serve and file a Loss Mitigation Request under the Court’s Loss Mitigation Program pursuant to General

Order #676. Complete paragraph below.
The mortgage due to {creditor name) on the property known as

(property address} under account number ending x (last four digits of
account number) is in default. All arrears, including all past due payments, late charges, escrow deficiency,
legal fees and other expenses due to the mortgagee totaling $ (total amount of arrearage),
may be capitalized pursuant to a loan modification. The new principal balance, including capitalized arrears

 

willbe $ (current total balance) , and will be paid at % interest amortized over
years with an estimated monthly payment of $ (total proposed monthly modified
payment) including interest and escrow of S (escrow portion of monthly payment}. The estimated

monthly payment, including proposed principal, interest, and escrow, shall be paid directly to the trustee while
loss mitigation is pending and until such time as the debtor(s) has commenced payment under a trial loan
modification. Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend
the Chapter 13 Plan and Schedule J to reflect the terms of the tria! agreement, including the direct payment to
the secured creditor going forward by the debtor(s).

Continued on attached separate page(s).
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(The debtor(s) is seeking to modify a mortgage outside of the Court's Loss Mitigation Program and shall
file a status letter on loss mitigation efforts seven (7) days prior to each scheduled Hearing on
Confirmation. '

Complete paragraph above.
L] The debtor(s) has been offered and accepted a trial loan modification. Complete the paragraph

below.
The mortgage due to (creditor name) on the property known as

(property address) under account number ending x {last four digits of
account number} is in default as of this date. The Debtor(s) has accepted a trial loan modification. Monthly
payments under the trial period plan, in the amount stated in Section 3.1 above, shall be paid directly to the
secured creditor commencing on , and shali continue until a permanent modification
agreement is authorized by the Court. Upon such Court authorization, except as otherwise expressly
provided by Court Order, the Trustee is directed to cease any further disbursements on account of arrearages
due on the claim of . The proof of claim affected by this paragraph is reflected on the Court’s

Claims Register as Claim #___, originally filed for the benefit of on , in
the total amount of S . After Court authorization of the permanent modification agreement,

if all other requirements for confirmation are satisfied, this plan may be confirmed without further
amendment incorporating the order only if this plan is timely served upon the secured creditor on the
address for notices indicated on the proof of claim.

L] Continued on attached separate page(s).
3.4: Request for valuation of security, payment of fully secured claims, and

modification of under-secured claims.

Check one.
BdNone. if “None” is checked, the rest of §3.4 need not be completed.

The remainder of this paragraph is only effective if the applicable box in Part 1 of this
plan is checked.

(The debtor(s) shall file a motion to determine the value of the secured claims listed below.
Such claim shall be paid pursuant to order of the court upon determination of such motion.
This paragraph shall not modify liens underlying any secured claims under non-bankruptcy law
absent an order determining such motion, and until either completion of payments under the
plan or entry of discharge of the debtor(s), as determined by the Court.

 

 

 

 

 

 

 

 

 

 

 

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3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

Check one.

Ddnone. if “None” is checked, the rest of §3.5 need not be completed.
Cithe claims fisted below were either:

o Incurred within 910 days before the petition date and secured by a purchase money

security interest in a motor vehicle acquired for the personal use of the debtor(s); or
o incurred within 1 year of the petition date and secured by a purchase money security
- interest in any other thing of value.

These claims will be paid pursuant to §3.1 and/or §3.2, (The claims must be referenced in those
sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of
claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary
amount listed below. In the absence of a contrary timely filed proof of claim, the amounts

stated below are controlling.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CJ Continued on attached separate page(s).

3.6: Lien avoidance.

Check one.
BNone. if “None” is checked, the rest of §3.6 need not be completed.

The remainder of this paragraph is only effective if the applicable box in Part 1 of
this plan is checked.

Lthe debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory,
non-purchase money security interests as the claims listed below impair exemptions to
which the debtor(s) are entitled under 11 U.S.C. §522(b) or applicable state law. See 11
U.S.C. §522(f) and Bankruptcy Rule 4003(d}. Such claim shall be paid pursuant to order of
the court upon determination of suchmotion.

 

 

 

 

 

 

 

 

 

 

 
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3.7: Surrender of collateral.

Check one.
ENone. if “None” is checked, the rest of §3.7 need not be completed.
CiThe debtor(s) elect to surrender to each creditor listed below the collateral that secures the
creditor's claim. The debtor{s) request that upon confirmation of this plan the stay under 11
U.S.C. §362(a} be terminated as to the collateral only and that the stay under 11 U.S.C. §1301
be terminated. Any timely filed aliowed unsecured claim resulting from the disposition of the

collateral will be treated in Part 5 below.

 

 

 

 

 

 

 

PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS

4,1: General.

Trustee's fees and all allowed priority claims, including domestic support obligations other than those
treated in $4.5, will be paid in full without post-petition interest.

4.2: Trustee’s fees.

Trustee’s fees are governed by statute and may change curing the course of the case.

4,3: Attorney's fees.
The balance of the fees owed to the attorney for the debtor(s) is $3,000.00.

4.4: Priority claims other than attorney’s fees and those treated in §4.5.

Check One.
CiNeone. if “None” is checked, the rest of §4.4 need not be completed.

The debtor(s) intend to pay the following priority claims through the plan:
 

 

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Estimated Clair
$11,809.89

    

internal Revenue Service

 

 

 

 

C1 Continued on attached separate page(s).

4.5: Domestic support obligations.

Check One.
BdNone. if “None” is checked, the rest of §4.5 need not be completed.

CiThe debtor(s) has a domestic support obligation and is current with this obligation.
Complete table below; do not fill in arrears amount.
CThe debtor(s) has a domestic support obligation that is not current and will be paying arrears

through the Plan, Complete table below.

  

 

 

 

 

 

 

 

 

 

 

 

 

PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS
Allowed nonpriority unsecured claims will be paid pro rata:

DONot less the sum of $
EI Not less than 100% of the total amount of these claims.
Clrrom the funds remaining after disbursement have been made to all other creditors

provided for in this plan.
if more than one option is checked, the option providing the largest payment will be effective.

PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be
treated as specified. All other executory contracts and unexpired leases are rejected.

Check one.
ElNone. if “None” is checked, the rest of §6.1 need not be completed.

ClAssumed items. Current installment payments will be paid directly by the debtor(s) as
specified below, subject to any contrary court order or rule. Arrearage payments will be
disbursed by the trustee.

 

 

 

 

 

 
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PART 7: VESTING OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest
in the debtor(s) upon completion of the plan.

PART 8: POST-PETITION OBLIGATIONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic
support obligations are to be made directly by the debtor(s) unless otherwise provided for in

the plan.

.2: Throughout the term of this Plan, the debtor(s) will not incur post- petition debt over
$2,500.00 without written consent of the Trustee or by order of the Court.

PART 9: NONSTANDARD PLAN PROVISIONS

9.1; Check “None” or list nonstandard plan provisions.

Cnone. if “None” is checked, the rest of §9.1 need not be completed.

Under Bankruptcy Rule 3015{c), nonstandard provisions must be set forth betow. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set aut

elsewhere in this plan are ineffective.

The following plan pravisions will he effective only if there Is a check in the box “included” in §1.1{c).

Student loans are to be paid outside the pian.

 

 

 

PART 10: CERTIFICATION AND SIGNATURE(S):

10.1: {/we do hereby certify that this plan does not contain any nonstandard provisions other than

those set out in the final paragraph.

  
     

Signature

pated: \S/ Sy ROAD

LM

Signature of Attorney for Debtor(s)

Dated: _ Liu

 

Signature of | Debtor 2

Dated: S 2
